              Case 2:15-cr-00190-KJM Document 126 Filed 04/25/17 Page 1 of 3


 1 Law Offices of Robert M. Wilson
   Robert M. Wilson, SBN: 122731
 2 770 L Street, Suite 950
   Sacramento, CA 95814
 3 Telephone: (916) 441-0888
   RWilson@BusinessCounsel.net
 4
   ATTORNEYS FOR DEFENDANT
 5 JOHN DICHIARA

 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-190 GEB

12                                Plaintiff,            STIPULATION AND [PROPOSED] ORDER
                                                        RESETTING MOTION IN LIMINE HEARING
13                          v.                          DATE AND SETTING BRIEFING SCHEDULE

14   JOHN MICHAEL DICHIARA,
     LAURA MARIE PEZZI,                                 TRIAL DATE: September 12, 2017
15   GEORGE B. LARSEN,
     MICHAEL ROMANO,
16
                         Defendants.
17

18

19

20          Plaintiff United States of America (“Government”), by and through its counsel of record, and

21 defendants John Michael DiChiara, Laura Marie Pezzi, George B. Larsen, and Michael Romano. hereby

22 jointly request and stipulate to the adoption of a new motion schedule and to the vacating of the current

23 hearing date of June 9, 2017. The parties further stipulate that good cause exist for such modification

24 because this case has previously been declared complex by this Court and the government has recently

25 provided additional discovery which needs to be reviewed.

26          The stipulation is not intended to apply to defendant Larry TODT. All motion cut off dates and

27 hearing dates previously set by the court remain in place as to defendant TODT unless otherwise ordered

28 by the Court.

                                                        1
30
              Case 2:15-cr-00190-KJM Document 126 Filed 04/25/17 Page 2 of 3


 1          On May 20, 2016, this Court found time under the Speedy Trial Act be excluded from May 20,

 2 2016, through the trial date of September 12, 2017, based upon the interest of justice under 18 U.S.C. §

 3
     3161(h)(7)(B)(iv), and Local Code T4, to allow reasonable time necessary for effective defense
 4
     preparation, and because this case is complex due to the nature of the prosecution and the existence of
 5
     novel questions of fact and law within the meaning of § 3161(h)(7)(B)(ii).
 6
            The parties have reviewed the proposed schedule, and hearing date with this Court’s courtroom
 7

 8 deputy and the dates are acceptable. The parties request the Court adopt the following new briefing

 9 schedule and hearing date and an order vacating of the July 14, 2017, as to defendants DICHIARA,
10 PEZZI, LARSON, AND ROMANO only.

11
            Proposed New Schedule for in limine and any motion or notice under Fed.R.Crim.P. 12, 12.1,
12
     12.2, or 12.3.
13
            Motions Due:                  May 15, 2017
14

15          Oppositions Due               June 5, 2017

16          Hearing Date                  July 14, 2017 at 9:00 a.m.

17

18 Dated: April 19, 2017                                 Respectfully submitted,
19

20
                                                  By:    /s/ Robert M. Wilson
21                                                       ROBERT M. WILSON
                                                         Counsel for John Michael DICHIARA
22

23                                                       PHILLIP A. TALBERT
                                                         United States Attorney
24
                                                  By:
25
                                                         /s/
26                                                       (authorized on April 20, 2017)
                                                         AUDREY B. HEMESATH
27                                                       Assistant U.S. Attorney
28

                                                         2
30
             Case 2:15-cr-00190-KJM Document 126 Filed 04/25/17 Page 3 of 3


 1

 2                                                       /s/
                                                         (authorized on April 20, 2017)
 3                                                       DUSTIN JOHNSON
                                                         Counsel for George B. Larsen
 4
                                                         /s/
 5                                                       (authorized on April 20, 2017)
                                                         TONI WHITE
 6                                                       Counsel for Laura PEZZI

 7                                                       /s/
                                                         (authorized on April 20, 2017)
 8                                                       MICHAEL LONG
                                                         Counsel for Michael ROMANO
 9
10                                                 ORDER

11         Good cause appearing, the Court vacates the hearing date of June 9, 2017, as to defendants

12 DICHIARA, PEZZI, LARSON, AND ROMANO only and adopts the following briefing schedule, as to

13 defendants DICHIARA, PEZZI, LARSON AND ROMANO only, for in limine and any motion or

14 notice under Fed.R.Crim.P. 12, 12.1, 12.2, or 12.3.
           Motions Due          :       May 15, 2017
15

16         Oppositions Due              June 5, 2017

17         Hearing Date                 July 14, 2017 at 9:00 a.m. before this Court
18

19         Dated: April 25, 2017
20

21

22

23

24

25

26
27

28

                                                         3
30
